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                             UNITED STATES DISTRICT COURT                                       FILED
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                                 DISTRICT OF VERMONT


UNITED STATES OF AMERICA                           )                                ravr,,.,~
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                                                   )
               V.                                  )       Criminal No.    S::-21- _c.r- _ l__\q - \
                                                   )
NATHAN CARMAN,                                     )
         Defendant.                                )


                                          INDICTMENT

       The Grand Jury charges:

       At all times relevant to this indictment:

       1.      Defendant Nathan Carman was the son of Linda Carman and the grandson of

John and Rita Chakalos. Nathan Caiman and Linda Carman had a strained relationship.

       2.      John Chakalos made tens of millions of dollars by building and renting nursing

homes and through other real estate ventures. John Chakalos had four daughters: Elaine

Chakalos, Linda Carman, Chai-Jene Gallagher and Valerie Santilli. Chakalos spent time at two

residential properties: a house in Windsor, CT, where he maintained his business office, and a

house in West Chesterfield, NH, which he had built. As paii of his estate planning, John

Chakalos created various trusts, including the Chakalos Family Dynasty Trust (Dynasty Trust).

The Dynasty Trust was designed to provide distributions to the four daughters and to distribute

John's assets to trusts in the names of the four daughters. Ce1iain additional assets in John

Chakalos' s name would pass from his estate into the Dynasty Trust and to the daughters' trusts

after his death. Valerie Santilli was the executor of John Chakalos ' s estate. Under the terms of

the trusts, the daughters had some control to name the beneficiaries of their trusts. Under the

terms of the trusts, the trustees, Larry Santilli and Paul Sterczala, had the power to decide
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whether to make distributions from the Dynasty Trust and from the daughters' trusts receiving

funds from the Dynasty Trust.

       3.      In 2012 and 2013, Nathan Caiman presented detailed questions to John

Chakalos's trust attorney and financial advisor about Carman's financial interests in John

Chakalos' s assets and the operation of the trusts.

       4.      By 2013, John Chakalos had set up two bank accounts for which Nathan Carman

was the beneficiary upon Chakalos's death. One account, containing approximately $150,000,

was designed to provide financial suppo1i for Nathan Carman's college enrollment. The second

account, containing approximately $400,000, listed both Linda Carman and Nathan Carman as

beneficiaries on Chakalos' s death.

       5.      During 2012 and 2013, Nathan Carman spent significant time with his

grandfather, John Chakalos, and attended various business meetings. Chakalos convinced Linda

Carman to designate Nathan Carman as the beneficiary of her trust from the Dynasty Trust.

During this period, Chakalos paid for Nathan Carman's personal expenses, including a truck and

an apaiiment. Nathan Carman received his high school degree in 2012. During 2012 and 2013,

Nathan Carman enrolled in community college but failed to complete most of his courses.

       6.      After 2012, Linda Carman's principal way of interacting with her son, Nathan

Carman, was by spending time fishing with him. In 2015, Nathan Carman purchased a boat, the

Chicken Pox, and insured the boat through Boat Owners Association of the United States (Boat

U.S.), which acted as the managing director for an insurance company, National Liability and

Fire Insurance Co.




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                                           The Scheme

       7.      Beginning in or about 2013 and continuing until the present, in the District of

Vermont and elsewhere, defendant Nathan Carman devised a scheme to defraud the Estate of

John Chakalos, its executor, the Dynasty Trust, and its trustees, and to obtain money from the

Dynasty Trust by materially false and fraudulent pretenses, representations, and promises. As a

central paii of this scheme, Nathan Carman murdered John Chakalos and Linda Carman. He

concocted cover stories to conceal his involvement in those killings. As part of his cover-up,

Nathan Carman misrepresented his involvement in and responsibility for those deaths to law

enforcement, to his family, to others who made inquiries about the deaths and their

circumstances, and to others who challenged his cover-up or challenged his rights to his

grandfather's assets.

       8.      On November 6, 2013, Nathan Carman, while living in a rented apartment in

Bloomfield, CT, registered his truck in New Hampshire and obtained a New Hampshire driver's

license. Carman listed his New Hampshire residence as the house built by John Chakalos in West

Chesterfield, NH.

       9.      On November 11, 2013, Nathan Carman used the New Hampshire driver's license

to purchase a Sig Sauer rifle at Shooter's Outpost in Hookset, NH.

       10.     On December 20, 2013, Nathan Carman murdered his grandfather, John

Chakalos, shooting him twice with the Sig Sauer while Chakalos slept in his Windsor, CT home.

       11.     After Nathan Camrnn killed John Chakalos, and as part of his plan to cover up his

involvement in that crime, Nathan Carman discarded his computer hard drive and the GPS unit

that had been in his truck the night of the murder. These acts prevented law enforcement from

reviewing the data on these devices.




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       12.     Between December 20, 2013 and January of 2014, Nathan Carman provided false

information to the law enforcement agencies investigating John Chakalos' s murder. Among

other things, Nathan Carman falsely denied involvement in the murder. He misrepresented his

whereabouts between approximately 3:00 a.m. on December 20, 2013, when he left his

apaiiment in Bloomfield, and approximately 4:00 a.m., when he anived at the location where he

planned to meet his mother to take a chaiier fishing trip. He also falsely denied purchasing the

Sig Sauer in November 2013.

       13.     After John Chakalos was murdered, Nathan Carman received approximately

$550,000 as a result of Chakalos' s death: $150,000 from the college account and $400,000 from

the beneficiary-on-death account. Carman moved to Vermont in 2014. Carman spent much of

this money between 2014 and 2016, during most of which he was unemployed. By the fall of

2016, he was low on funds.

       14.     In September 2016, Nathan Carman arranged to go on a fishing trip on the

Chicken Pox with his mother, Linda Carman. Nathan Carman planned to kill his mother on the

trip. He also planned how he would report the sinking of the Chicken Pox and his mother's

disappearance at sea as accidents.

       15.     Prior to the trip, Nathan Carman told his mother that they would be fishing in the

immediate vicinity of Block Island, RI. Nathan Carman and Linda Carman left in the Chicken

Pox from Ram Point Marina in South Kingstown, RI at approximately 11: 13 p.m. on September

17, 2016. Linda Carman believed that she would be returning home by noon the next day, as

evidenced by the float plan she left with friends.

       16.     Prior to the trip, Nathan Carman altered the Chicken Pox in several ways,

including removing two forward bulkheads and removing trim tabs from the transom of the hull.




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       17.     Prior to the trip, Nathan Carman removed his computer from his home, preventing

law enforcement from reviewing the computer while he was away.

       18.     After leaving the marina, Nathan Carman killed his mother, Linda Carman, and

eventually sank the Chicken Pox. On September 18, 2016, when it learned the Chicken Pox had

not returned from the fishing trip, the Coast Guard began an extensive search and rescue mission

that continued until September 24, 2016. During that interval, Nathan Carman and the Chicken

Pox avoided detection by the search and rescue team. On September 25, Nathan Carman was

"rescued" from an inflatable life raft by a commercial ship, the Orient Lucky,

       19.     After being picked up by the Orient Lucky, Nathan Carman made false statements

to the Coast Guard, to law enforcement investigating the disappearance of Linda Carman, and to

others about what happened to Linda Carman and about what occurred on the Chicken Pox.

       20.     In October 2016, Nathan Carman presented an insurance claim to Boat U.S. for

the loss of the Chicken Pox for approximately $85,000. Carman misrepresented to the insurance

company what happened to Linda Carman and what occurred on the Chicken Pox. He largely

maintained the false narrative he had provided to law enforcement, with some additional details.

       21.     In January 2017, Boat U.S. denied Nathan Carman's insurance claim. Boat U.S.

also brought a lawsuit in federal court in Rhode Island seeking a declaratory judgment that the

insurance company permissibly denied Carman's insurance claim. During the litigation, both in

discovery and at trial, Nathan Carman maintained his false narratives, misrepresenting what

happened to Linda Carman and what occurred on the Chicken Pox.

       22.     In July 2017, Valerie Santilli, the executor of John Chakalos's estate, filed an

action in New Hampshire Probate Court, where the Chakalos estate was being pro bated,

claiming that Nathan Carman killed John Chakalos and Linda Carman. The New Hampshire




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action sought to prevent Nathan Carman from benefiting from his grandfather's and mother's

deaths. During this litigation, Nathan Carman maintained his false narratives, misrepresenting

what happened to his grandfather, what happened to his mother, and what occurred on the

Chicken Pox.

                                    Counts One through Three

       23.     On or about the dates below, in the District of Vermont and elsewhere, defendant

Nathan Carman, having devised the scheme to defraud and to obtain money by materially false

and fraudulent pretenses, representations, and promises described above, knowingly caused to be

delivered by U.S. mail or commercial interstate carrier to Nathan Carman in Vermont, the

documents described below, for the purpose of executing the scheme:

        COUNT              DATE                             DESCRIPTION

      One           May 23, 2018            By U.S. Mail, Petitioner's Third Set of
                                            Inten-ogatories
      Two           July 27, 2018           By UPS, material relating to the Windsor
                                            Police Department investigation of Carman

      Three         November 1, 2018        By UPS, Exhibits for Petitioner's Request for
                                            Admissions, Set #2



                                       (18 U.S.C. § 1341)




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                                     Counts Four through Six

       24.     The allegations in paragraphs 1 through 22 are incorporated here.

       25.     On or about the dates below, in the District of Vermont and elsewhere, defendant

Nathan Carman, having devised the scheme to defraud and to obtain money by materially false

and fraudulent pretenses, representations, and promises described above, transmitted by means of

wire in interstate commerce the documents described below, for the purpose of executing the

scheme.

          COUNT           DATE                               DESCRIPTION

      Four          February 13, 2018    An email providing answers to Petitioner's First
                                         Set of Interrogatories
      Five          June 27, 2018        An email providing answers to Petitioner's Third
                                         Set of Interrogatories
      Six            July 15, 2018       An email providing answers to Petitioner's First
                                         Set of Requests for Admission




                                        (18 U.S.C. § 1343)




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                                          Count Seven

       26.     The allegations in paragraphs 1 through 22 are incorporated here.

       27.     On or about September 17-18, 2016, within the special maritime and territorial

jurisdiction of the United States, defendant Nathan Carman unlawfully killed Linda Carman with

malice aforethought. Moreover, Nathan Carman killed Linda Carman willfully, deliberately,

maliciously, and with premeditation.

                                       (18 U.S.C. § 1111)




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                                           Count Eight

       28.      The allegations in paragraphs 1 through 22 are incorporated here.

       29.      Between in or about September 2016 and in or about August 2019, in the District

of Vermont and elsewhere, defendant Nathan Carman devised a scheme to defraud and to obtain

money from Boat U.S. and the National Liability and Fire Insurance Co. by materially false and

fraudulent pretenses, representations, and promises about what occurred between the time the

Chicken Pox left the Ram Point Marina and the time Nathan Carman was picked up by the

Orient Lucky.

       30.      On or about June 10, 2017, in the District of Vermont and elsewhere, defendant

Nathan Carman, having devised the scheme to defraud and to obtain money by materially false

and fraudulent pretenses, representations, and promises described above, transmitted and caused

to be transmitted by means of wire communication in interstate commerce an email that attached

his nanative about the sinking of the ,Chicken Pox, for the purpose of executing the scheme.

                                        (18 U.S.C. § 1343)


                                                             A TRUE BILL .


                                                             FOREPERSON



Nikolas P. Kerest (PJV/NTB)
United States Attorney
 Rutland, Vermont
~       , 2022




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